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         IN THE UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION


GEORGIA STATE CONFERENCE OF THE                   )
NAACP; GEORGIA COALITION FOR THE                  )
PEOPLE’S AGENDA, INC.; GALEO                      )
LATINO COMMUNITY DEVELOPMENT                      )
FUND, INC.,                                       )
                                                  )   Case No. 21-cv-5338
             Plaintiffs,                          )
                                                  )
v.
                                                  )
STATE OF GEORGIA; BRIAN KEMP, in his )
official capacity as the Governor of the State of )
Georgia; BRAD RAFFENSPERGER, in his               )
official capacity as the Secretary of State of    )
Georgia,                                          )
                                                  )
             Defendants.                          )
                                                  )
_____________________________________ )

                  PLAINTIFFS’ RESPONSE IN OPPOSITION
                  TO DEFENDANTS’ MOTION TO DISMISS
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                                  INTRODUCTION

      In the fifty-seven years since the passage of the Voting Rights Act (“VRA”),

hundreds of courts around the country—including the United States Supreme Court

and this Court—have presided over Section 2 cases brought by private litigants with

scarcely a whisper that there was no private right of action. The handful of

defendants who raised the issue—virtually all very recently—were unanimously met

with resounding rejections. Indeed, most recently, when the issue was raised in a

redistricting case similar to that at bar, a three-judge panel in the Fifth Circuit quickly

dispatched the defendants’ argument. See League of United Latin Am. Citizens v.

Abbott, No. EP-21-CV-00259-DCG-JES-JVB, 2021 WL 5762035, at *1 (W.D. Tex.

Dec. 3, 2021) (“LULAC”).

      That result is not surprising. Common sense dictates that, if the text and

structure of the Voting Rights Act of 1965 even hinted at the notion that private

litigants had no right to file an action under Section 2, surely every one of the many

hundreds of defendants who had been sued by private plaintiffs under Section 2 in

the last six decades and who had fought tooth and nail against liability would have

at least attempted to make that argument. Until very recently, that hardly ever

happened. Nor—until very recently—had any court raised the issue on its own

accord, an omission even more telling because the district court’s decision upon

which Defendants’ motion wholly relies purports to raise a question of subject-

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matter jurisdiction. See Ark. State Conf. NAACP v. Ark. Bd. Apportionment, 2022

WL 496908, at *9 (E.D. Ark. Feb. 17, 2022) (“Ark NAACP”). Indeed, in holding

unconstitutional a companion provision of the Voting Rights Act, the Supreme Court

expressly recognized suits under Section 2 by “individuals” and the availability of

injunctive relief in such suits “to block voting laws from going into effect.” Shelby

Cty., Ala. v. Holder, 570 U.S. 529, 537 (2013). Surely, at least one eminent jurist

would have thought of this supposed threshold issue at some moment in over a half

century. The silence of this multitude of defendants and judges is deafening.

      As this Court has already recognized, “there is no reason to ignore or refute

the decades of Section 2 litigation challenging redistricting plans in which courts

(including the Supreme Court) have never denied a private plaintiff the ability to

bring a Section 2 claim.” Grant v. Raffensperger, No. 1:22-cv-00122-SCJ, 2022 WL

1516321, at *10 (N.D. Ga. Jan. 28, 2022). The text and structure of the statute clearly

support the congressional intent, expressly stated in the legislative history, to create

rights and remedies for private persons to sue under the provision. To rule otherwise,

in the face of the history of this most important of laws designed to ensure equal

opportunity of all to participate in our democracy, is an unprecedented act of judicial

incursion into the legislative sphere.




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                                     ARGUMENT

I.      Congress Intended a Private Right of Action for Section 2 Enforcement.

        Defendants argue that because a private right of action is not explicitly written

into the statute, courts can no longer recognize the right of private plaintiffs to bring

claims under Section 2. See Mot. at 2 (citing Ark NAACP) .1 That is simply not the

law. First, and dispositive on the issue, the matter has already been resolved contrary

to Defendants’ and the Ark NAACP court’s position by the Supreme Court in Morse

v. Republican Party, 517 U.S. 186, 233 (1996). Second, even were this Court

inclined to revisit the issue, the absence of language expressly creating a private right

of action is in no way dispositive of the issue. Rather, as Defendants recognize (Mot.

at 2), Supreme Court precedent provides for a private right of action to challenge

statutes that “‘displa[y] an intent’ to create ‘a private remedy.’” Ziglar v. Abbasi,

137 S. Ct. 1843, 1856 (2017) (quoting Alexander v. Sandoval, 532 U.S. 275, 286–

87 (2001)) (emphasis added).




1
  Defendants refer this Court to the Ark NAACP Order for a “thorough analysis”
which “need not be exhaustively repeated here.” Mot. at 7. In this Opposition,
Plaintiffs do not respond to the entire 41-page order in that case but, rather, respond
primarily to arguments made by Defendants in their Opposition. Any argument not
actually raised by Defendants in their Motion is waived. See Fils v. City of Aventura,
647 F. 3d 1272, 1284 (11th Cir. 2011) (“To prevail on a particular theory of liability,
a party must present that argument to the district court . . . district courts cannot
concoct or resurrect arguments neither made nor advanced by the parties.”).
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      Sandoval held that a private right of action exists when Congress intended to

create a private right and a private remedy. 532 U.S. at 286. In ascertaining that

intent, Sandoval instructs that courts look to the text of the statute, its structure, and

its legal context. Id. at 288. Here, every indicia points in the direction of the creation

of a private right of action to enforce Section 2 of the VRA, and none points in the

opposite direction.

      A.     The Issue Was Resolved Against Defendants in Morse v.
             Republican Party.
      In the plurality opinion in Morse v. Republican Party, Justice Stevens wrote:

“Although § 2, like § 5, provides no right to sue on its face, ‘the existence of the

private right of action under Section 2 . . . has been clearly intended by Congress

since 1965.’” 517 U.S. 186, 232 (1996) (Stevens, J., joined by Ginsburg, J.) (quoting

S. Rep. No. 97-417, at 30 (1982) and referencing H.R. Rep. No. 97-227, at 32

(1981)). Three other Justices, writing separately, expressly agreed with this

proposition. Id. at 240 (joint opinion of Breyer, O’Connor, and Souter, JJ.) (“I

believe Congress intended to establish a private right of action to enforce § 10, no

less than it did to enforce §§ 2 and 5.”).

      In the handful of times that the issue has been raised, every federal court—

except the court in Ark NAACP—considered the issue settled by the five Justices in

Morse. The Eleventh Circuit has expressly treated the combination of opinions in


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Morse as having resolved the issue. See Ford v. Strange, 580 F. App’x 701, 705 n.6

(11th Cir. 2014) (per curiam) (discussing Morse, concluding that “[a] majority of the

Supreme Court has indicated that section 2 of the Voting Rights Act contains an

implied private right of action”); see also Ala. State Conf. NAACP v. Alabama, 949

F. 3d 647, 651–54 (11th Cir. 2020) (“The [Voting Rights Act], as amended, clearly

expresses an intent to allow private parties to sue the States.”), vacated on unrelated

grounds, 141 S. Ct. 2618 (2021); see also Caster v. Merrill, No. 2:21-CV-1536-

AMM, 2022 WL 264819, at *81 (N.D. Ala. Jan. 24, 2022), cert. granted before

judgment sub nom. Merrill v. Milligan, 142 S. Ct. 879 (2022) (“[T]he understanding

that Section Two provides a private right of action was necessary to reach the

judgment [in Morse] that Section Ten provides a private right of action. Five justices

concurred in that reasoning and judgment. A ruling that Section Two does not

provide a private right of action would badly undermine the rationale offered by the

Court in Morse.”); Ga. State Conf. NAACP v. State, 269 F. Supp. 3d 1266, 1275

(N.D. Ga. 2017) (“Georgia NAACP”) (recognizing “that Section 2 contains an

implied private right of action”) (citing Morse, 517 U.S. at 232).2 The conclusion by


2
  See also OCA-Greater Hous. v. Texas, 867 F.3d 604, 614 (5th Cir. 2017)
(affirming Section 2 ruling filed by a private plaintiff); Mixon v. Ohio, 193 F.3d
389, 406 (6th Cir. 1999) (“An individual may bring a private cause of action
under Section 2 of the Voting Rights Act”); Alpha Phi Alpha Fraternity, Inc. v.
Raffensperger, No. 1:21-cv-5337-SCJ, 2022 WL 633312, at *11 n.10 (N.D. Ga.
Feb. 28, 2022) (specifically rejecting ruling in Ark NAACP); LULAC, 2021 WL
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the majority of the Court in Morse that Congress intended to create a private right of

action to enforce Section 2 of the VRA controls disposition of Defendants’ motion.

There is, therefore, no need for this Court to venture beyond it.

      B.     The Language and Structure of the VRA Indicate Congressional
             Intent to Create a Private Right of Action.

      Even if this Court were inclined to undertake its own examination of the issue,

the result would necessarily be the same as that reached by the majority of the Court

in Morse. The majority’s decision in Morse is completely consistent with the

Supreme Court’s approach to resolving such issues as set forth in Sandoval and its

progeny.

      The main criterion for whether a statute contains rights-creating language, as

referenced in Sandoval, 532 U.S. at 288, is whether it explicitly refers to a citizen’s

“right[]” and is “phrased in terms of the persons benefited.” Gonzaga Univ. v. Doe,

536 U.S. 273, 284 (2002). Section 2 contains this language by expressly protecting

the “right of any citizen . . . to vote” free from racial discrimination. 52 U.S.C.

§ 10301(a). Indeed, a court recently held that the language of 42 U.S.C. § 2000d

(Title VI of the Civil Rights Act), which Sandoval held contained “paradigmatic




5762035, at *1; Veasey v. Perry, 29 F. Supp. 3d 896, 905–07 (S.D. Tex. 2014)
(describing long history of private enforcement of Section 2); Perry-Bey v. City of
Norfolk, 678 F. Supp. 2d 348, 362 (E.D. Va. 2009) (ruling that Section 2 can be
enforced by private parties).
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rights-creating language,” “seems to mirror Section 2’s” language. LULAC, 2021

WL 5762035, at *1.3 Therefore, the Court held, Section 2 contains rights-creating

language. Id.; see also Wisniewski v. Rodale, Inc., 510 F.3d 294, 302 (3d Cir. 2007)

(“With an explicit reference to a right and a focus on the individual protected, this

language suffices to demonstrate Congress’s intent to create a personal right[.]”).

       The VRA also meets Sandoval’s second criterion: whether the statute

provides for “a private remedy.” See 532 U.S. at 286–88. In analyzing this issue,

courts “must read the words” in a statute “in their context and with a view to their

place in the overall statutory scheme” because the court’s “duty, after all, is to

construe statutes, not isolated provisions.” King v. Burwell, 576 U.S. 473–75, 486

(2015) (internal quotations marks omitted). As the Court instructed in Sandoval, in

ascertaining intent, courts must review not only the text of a statute, but also its

“structure.” 532 U.S. at 288. The overall structure of the VRA unequivocally

supports congressional intent to create a private remedy.

       Section 3 of the VRA, “Proceeding to enforce the right to vote,” 52 U.S.C.

§ 10302, expressly anticipates private remedies for Section 2 violations. It provides

for relief in “proceeding[s]” brought by “the Attorney General or an aggrieved


3
 Compare 42 U.S.C. § 2000d (“No person . . . shall . . . be subjected to
discrimination[.]”) with 52 U.S.C. § 10301(a) (“No voting qualification . . . shall
be imposed . . . in a manner which [denies] . . . the right of any citizen . . . to vote
on account of race or color[.]”).
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person . . . under any statute to enforce the voting guarantees of the fourteenth or

fifteenth amendment.” 52 U.S.C. § 10302(a) (emphasis added); see also id.

§ 10302(b) (same), id. § 10302(c) (same). Clearly, under Section 2 of the VRA,

private plaintiffs are “aggrieved person[s]” when their voting rights have been

violated. See Roberts v. Wamser, 883 F.2d 617, 621, 624 (1989) (Section 3

“reflects[s] the standing of ‘aggrieved persons’ to enforce their right to vote,” and it

includes “persons whose voting rights have been denied or impaired.”); see also

Morse, 517 U.S. at 233 (Congress’ reference to “or an aggrieved person” in Section

3 was intended “to provide the same remedies to private parties as had formerly been

available to the Attorney General alone.”).

      Further, a Section 2 suit is “a proceeding” brought under a statute “to enforce

the voting guarantees of the fourteenth or fifteenth amendment.” Morse, 517 U.S. at

233–34 (Section 2 is “designed” to enforce the fourteenth and fifteenth

amendments); accord Brnovich v. Democratic Nat'l Comm., 141 S.Ct. 2321, 2330

(2021) (purpose of VRA to end voting discrimination as prescribed by fifteenth

amendment); Johnson v. Governor of State of Fla., 405 F. 3d 1214, 1227 (11th Cir.

2005) (VRA was enacted “pursuant to [Congress’] enforcement powers under the

Fourteenth and Fifteenth Amendments.”); see also Georgia NAACP, 269 F. Supp.

3d at 1275 (“[T]he Supreme Court has noted that the Voting Rights Act

was ‘designed to implement the Fifteenth Amendment and, in some respects,

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the Fourteenth Amendment.’”); S. Rep. No. 97-417, at 9 (“In adopting [an]

amendment [to Section 2], Congress indicated that the basis for this expanded

Section 2 was not only the Fifteenth Amendment, but also the Fourteenth as well.”).

      In this context, the courts—other than the court in Ark NAACP—have

unanimously ruled that Section 3 provides private remedies for Section 2 violations.

See, e.g., Ala. State Conf. NAACP, 949 F.3d at 652 (“The language of § 2 and § 3,

read together, imposes direct liability on States for discrimination in voting and

explicitly provides remedies to private parties to address violations under the

statute.”); Wamser, 883 F. 2d at 621, 621 n.6 (Section 3 provides private remedies

for Section 2).

      Similarly, Section 12 of the VRA allows that “[i]n any action or proceeding

to enforce the voting guarantees of the fourteenth or fifteenth amendment,” a court

may “allow the prevailing party, other than the United States, a reasonable attorney’s

fee, reasonable expert fees, and other reasonable litigation expenses as part of the

costs.” 52 U.S.C.A. § 10310(e); see also Maloney v. City of Marietta, 822 F.2d 1023,

1026 (11th Cir. 1987) (“purpose of [VRA § 12] is to encourage private litigants to

act as private attorneys general in seeking to vindicate the civil rights laws”) (internal




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quotation marks omitted). Therefore, the text of the VRA explicitly provides that

plaintiffs other than the United States may bring lawsuits to enforce the Act.4

       Section 14(e) of the VRA is further evidence that the overall structure of the

VRA indicates congressional intent to create private remedies for Section 2

violations. That provision authorizes “the prevailing party, other than the United

States” to seek attorney’s fees “[i]n any action or proceeding to enforce the voting

guarantees of the fourteenth or fifteenth amendment.” 52 U.S.C. § 10310(e)

(emphasis added). By its express terms then, Section 14(e) brings private litigants

into the VRA’s fee-shifting structure – a structure designed to provide prevailing

parties in a VRA action with fees and costs. Our courts have agreed. See, e.g., Dillard

v. City of Greensboro, 213 F.3d 1347, 1353 (11th Cir. 2000) (“This circuit has

implicitly construed a violation of § 5 of the [VRA] to be a violation of the



4
  The district court in Ark NAACP rejected Section 12(f) as evincing congressional
intent to create a private right of action to enforce Section 2 of the VRA on the basis
that Section 12(f) followed Section 12(e), and Section 12(e) spoke in terms only of
the Attorney General’s authority to undertake certain actions based on complaints
received from observers. See Ark NAACP, 2022 WL 496908, at *12–13; 52 U.S.C.
10308(e-f). Contrary to the district court’s reasoning, nothing in Section 12(f) limits
its application to the observer provisions of the Act or to any sole responsibility or
authority of the Attorney General. The Department of Justice itself agrees that
Section 2 creates a private remedy for any “aggrieved person,” not merely for the
federal government. See Statement of Interest of the United States, League of United
Latin Am. Citizens v. Abbott, No. 3:21-cv-259 (DCG-JES-JVB), (W.D. Tex. Nov.
30, 2021).

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‘guarantees of the fourteenth or fifteenth amendment,’ and no one argues here that

the same implicit extension of [Section 14(e)] would not embrace § 2 claims, as

well”) (internal citation omitted); Brooks v. Ga. State Bd. of Elections, 997 F.2d 857,

86–-61 (11th Cir. 1993) (concluding Section 14(e) provides attorney’s fees “to

enforce civil rights statutes, including the voting rights statutes”); Morse, 517 U.S.

at 289 (“Section 14(e), which provides for attorney’s fees to ‘the prevailing party,

other than the United States,’ is likewise a general reference to private rights of

action.”) (Thomas, J., dissenting). Consequently, federal courts routinely award

attorneys’ fees to private plaintiffs who successfully litigated Section 2 claims under

this Section 14(e). See, e.g., Dillard, 213 F.3d at 1353.

      Few statutes in this Nation’s history have possessed a more important

remedial purpose than the Voting Rights Act of 1965. 52 U.S.C. § 10101, et seq.

Responding to the states’ tenacious “ability . . . to stay one step ahead of federal

law,” Congress passed the Act to provide a “new weapon[] against discrimination.”

Armand Derfner, Racial Discrimination and the Right to Vote, 26 Vand. L. Rev.

523, 524, 550 (1973). As the Supreme Court recently described the legal context of

the Act:

             Inspired to action by the civil rights movement, Congress
             responded in 1965 with the Voting Rights Act. Section 2
             was enacted to forbid, in all 50 States, any ‘standard,
             practice, or procedure ... imposed or applied ... to deny or
             abridge the right of any citizen of the United States to vote

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             on account of race or color.’ 79 Stat. 437. The current
             version forbids any “‘standard, practice, or procedure’ that
             “results in a denial or abridgement of the right of any
             citizen of the United States to vote on account of race or
             color.” 42 U.S.C. § 1973(a). Both the Federal Government
             and individuals have sued to enforce § 2, see, e.g., Johnson
             v. De Grandy, 512 U.S. 997, 114 S. Ct. 2647, 129 L.Ed.2d
             775 (1994), and injunctive relief is available in appropriate
             cases to block voting laws from going into effect, see 42
             U.S.C. § 1973j(d).

      Shelby Cty., 570 U.S. at 536-37.

      A statute with so important a remedial purpose should not be strictly

construed, Tcherepnin v. Knight, 389 U.S. 332, 336 (1967) (noting “we are guided

by the familiar canon of statutory construction that remedial legislation should be

construed broadly to effectuate its purposes”), and the Supreme Court has

specifically directed that Section 2 “should be interpreted in a manner that provides

the broadest possible scope in combating racial discrimination.” Chisom v. Roemer,

501 U.S. 380, 401 (1991) (internal quotation marks omitted).

      Plaintiffs emphasize that they are not suggesting that, because remedial

statutes must be broadly construed, that in itself necessitates implying a private right

of action to enforce Section 2 of the Act. Rather, if the court chooses to parse the

statute to ascertain whether Congress intended to create a private remedy – as the

district court in Ark NAACP did – it must approach that task with the perspective of

a broad construction, not the myopic one exhibited by that court.


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      C.     The Legislative History Confirms Congressional Intent to Create
             a Private Right of Action to Enforce Section 2 of the VRA.

      Although the district court in Ark NAACP declined to consider legislative

history, Sandoval and the precedent upon which Sandoval was based instructs

otherwise. The Court in Sandoval counseled against giving dispositive weight to

“context shorn of text,” 532 U.S. at 288, and recognized that legislative history

matters when it “clarifies text.” Id. Indeed, in explaining that the Sandoval guidelines

for ascertaining congressional intent to create a private right of action were “not

novel, but well established in earlier decisions,” 532 U.S. at 288 n.7, Justice Scalia

cited to Northwest Airlines, Inc. v. Transport Workers, 451 U.S. 77, 94 n. 31 (1981),

which in turn explained that where “neither the statute nor the legislative history

reveals a congressional intent to create a private right of action for the benefit of the

plaintiff,” the inquiry into congressional intent may end. (Emphasis added).

Throughout Sandoval, 532 U.S. at 279, 280, 282, 288, 290, the Court relied heavily

on its prior decision in Cannon v. University of Chicago, 441 U.S. 677 (1979), which

looked to both the language of the statute and its legislative history in ascertaining

congressional intent to create a private right of action.

      The legislative history of the VRA could not be clearer on the issue. When

Congress first reauthorized the VRA in 1970, it favorably cited Allen v. State Bd. of

Elections, 393 U.S. 544 (1969) for the proposition that Section 5 contained a private


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right of action. H.R. Rep. No. 91-397, at 8 (1969). In 1975, 5 Congress amended the

Act to insert protections for language minorities, among other things, and expand

the constitutional underpinnings of the Act by referencing the guarantees of the

Fourteenth Amendment. See S. Rep. No. 94-295, at 22–24 (1975); 42 U.S.C.

§§ 1973a, 1973d. The 1975 Senate Report accompanying these amendments stated

in no uncertain terms:

             In enacting remedial legislation, Congress has regularly
             established a dual enforcement mechanism. It has, on the
             one hand, given enforcement responsibility to a
             governmental agency, and on the other, has also provided
             remedies to private persons acting as a class or on their
             own behalf. The Committee concludes that it is sound
             policy to authorize private remedies to assist the
             process of enforcing voting rights.

S. Rep. No. 94-295, at 22–24 at 40 (emphasis added). The same Report made it clear

that Section 14(e), the provision described above relating to attorneys’ fee awards,

applies to “suits to enforce the voting guarantees of the Fourteenth and Fifteenth




5
  In Allen, the Supreme Court expressed its belief that a private right of action
exists to enforce Section 5 of the VRA, when it held that the broad purpose of the
VRA would be “severely hampered” by the inability of private citizens to “depend
solely on litigation instituted at the discretion of the Attorney General.” 393 U.S. at
556; see also id. at 55-56 (limiting the ability of private individuals to bring suit
under the VRA would contradict Congress’s intent to “make the guarantees of the
Fifteenth Amendment finally a reality for all citizens”). Allen is still good law
today. See e.g., Schwier v. Cox, 340 F.3d 1284, 1294–95 (11th Cir. 2003) (relying
on Allen to support the holding that the VRA provides a private right of action).
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amendments, and statutes enacted under those amendments,” S. Rep. No. 94-295, at

40 (emphasis added).

      In 1982, Congress again amended Section 2, this time to create a

discriminatory results cause of action, in addition to a discriminatory intent cause of

action. Accompanying the 1982 amendments was a 245-page 1982 Senate

Committee Report, S. Rep. No. 97-417 (1982), which became “the authoritative

source for legislative intent” of the VRA. Gingles, 478 U.S. at 43 n.7; see also

Brnovich, 141 S. Ct. at 2332–33 (describing the 1982 Senate Report as “oft-cited”

by the Supreme Court when interpreting the VRA.).

      The Senate Report was unequivocal in its acknowledgement of the existence

of a private right of action to enforce Section 2. S. Rep. No. 97-417, at 5 (“The

Committee reiterates the existence of the private right of action under Section 2, as

has been clearly intended by Congress since 1965. See Allen v. Board of Elections,

393 U.S. 544 (1969).”). The accompanying House Report was no less certain on the

issue. H. Rep. No. 97-227, at 32 (1981) (“It is intended that citizens have a private

cause of action to enforce their rights under Section 2. This is not intended to be an

exclusive remedy for voting rights violations, since such violations may also be

challenged by citizens under 42 U.S.C. §§ 1971, 1983 and other voting rights

statutes”). As did the Senate Report, the House Report underscored that private

plaintiffs were entitled to attorneys’ fees if they prevail. Id.

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      These express statements of recognition of a private right of action to enforce

Section 2 of the VRA are further bolstered by the context of the 1982 amendments,

which constituted Congress’ response to the Supreme Court’s decision in City of

Mobile v. Bolden, 446 U.S. 55, 62 (1980) that Section 2 prohibited only voting laws

motivated by a discriminatory purpose. Congress adopted the 1982 amendments to

relieve plaintiffs of the burden of proving discriminatory intent as part of a Section

2 action. See Brnovich, 141 S. Ct. at 2332. It would strain credulity for Congress to

excise the private right of action while trying to make it easier for private plaintiffs

to challenge racial discrimination in voting.

      Congress maintained the same view when the Act was reauthorized in 2006.

H. Rep. No. 109-478, at 11 (2006). In fact, Congress in 2006 reiterated its approval

of litigation by both “the Department of Justice and private citizens” to enforce

Section 5, which it stated “played a critical role” in ensuring VRA compliance. Id.

at 41–42. It further observed that “much of the burden of enforcing Section 5 over

the years has fallen to private citizens whose assistance has been critical to ensuring

that discriminatory changes are stopped before they negatively affect minority

voters,” id., and that “Section 2 has been instrumental in paving the way for minority

voters to more fully participate in the political process across the country.” Id. at 11.

      Rather than consider this clear evidence of congressional intent to create a

private right of action, the district court in Ark NAACP closed its eyes to it. Acting

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more like the courts whose prior decisions the district court criticized as judicial

legislating, that court itself assumed the role of legislator, and wrote a private right

of action—clearly intended by Congress—out of the Act. This was improper, and

the decision in Ark NAACP is entitled to no deference.

       D.    Congress Must Be Presumed To Have Been Aware of the
             Application of the Private Right of Action.

       For decades, many courts, including the Supreme Court, have heard hundreds

of VRA Section 2 cases brought by private plaintiffs. These include not only Morse,

but also Supreme Court opinions such as Abbott v. Perez, 138 S. Ct. 2305,

2317(2018), League of United Latin Am. Citizens v. Perry, 548 U.S. 399, 409 (2006);

De Grandy, 512 U.S. at 1000; Roemer, 501 U.S. at 384; and Gingles, 478 U.S. at

38.6 It includes cases before the Eleventh Circuit such as White v. State of Ala., 74

F.3d 1058, 1060 (11th Cir. 1996), Dillard v. Baldwin Cty. Comm’rs, 376 F.3d 1260,

1265 (11th Cir. 2004) (stating that “section 2 provides a cause of action for protected

minority groups that can establish, based on the totality of circumstances, ‘that

[their] members have less opportunity than other members of the electorate to



6
 The Supreme Court alone has heard at least eleven Section 2 cases since 1982
brought by private plaintiffs. In addition to those cited above, see, e.g., Brnovich,
141 S. Ct. 2321; Bartlett v. Strickland, 556 U.S. 1 (2009); Holder v. Hall, 512 U.S.
874 (1994); Growe v. Emison, 507 U.S. 25 (1993); Voinovich v. Quilter, 507 U.S.
146 (1993); Houston Lawyers’ Ass’n v. Attorney General of Tex., 501 U.S. 419
(1991).
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participate in the political process and to elect representatives of their choice’”), and

Wright v. Sumter Cty. Bd. Of Elections & Registration, 979 F.3d 1282, 1311 (11th

Cir. 2020) (affirming the district court’s determination that the districting map

violated section 2 of the VRA in a lawsuit brought by private plaintiffs). Every

federal appeals court, with the exception of the Federal Circuit, has heard Section 2

cases brought by private plaintiffs.7 At least 75 Section 2 cases have been filed by

private plaintiffs in district courts within the Eleventh Circuit alone.8 In none of these

cases has a court ever ruled that the private plaintiffs could not bring an action under

Section 2. To the contrary, as noted above, every court to have considered the

issue—again, with the sole exception of the court in Ark NAACP— has rejected the

notion raised in Defendants’ motion the few times a party has had the temerity to

raise it.




7
  See, e.g., Luft v. Evers, 963 F.3d 665 (7th Cir. 2020); Ne. Ohio Coal. Homeless v.
Husted, 837 F.3d 612 (6th Cir. 2016); Arbor Hill Concerned Citizens v. Cty. of
Albany, 357 F.3d 260 (2d Cir. 2004); Hall v. Virginia, 385 F.3d 421 (4th Cir.
2004); Metts v. Murphy, 363 F.3d 8, 11 (1st Cir. 2004); Kingman Park Civic Ass’n
v. Williams, 348 F.3d 1033 (D.C. Cir. 2003); Arakaki v. Hawaii, 314 F.3d 1091
(9th Cir. 2002); Sanchez v. State of Colo., 97 F.3d 1303 (10th Cir. 1996); Clark v.
Calhoun Cty., Miss., 88 F.3d 1393 (5th Cir. 1996); Jenkins v. Red Clay Consol.
Sch. Dist. Bd. of Educ., 4 F.3d 1103 (3d Cir. 1993); Wamser, 883 F.2d at 621, 624.
8
  See generally Ellen D. Katz et al., Section 2 Cases Database, University of
Michigan Law School Voting Rights Initiative (2022),
https://voting.law.umich.edu/database.

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       Congress is presumed “to have been aware of the scope of [the statute] as

interpreted by lower courts,” Liu v. SEC, 140 S. Ct. 1936, 1947 (2020), and its failure

to change the statute in the face of such overwhelming judicial precedent evidences

its agreement with the courts’ consistent reading of Section 2 as providing for a

private right of action. See Square D Co. v. Niagara Frontier Tariff Bureau, Inc.,

476 U.S. 409, 419 (1986) (leaving statute without change in face of judicial opinion

evidences congressional intent).


                                   CONCLUSION

      For the foregoing reasons, Plaintiffs request that the Motion to Dismiss be

DENIED.


Dated: June 3, 2022                        Respectfully submitted,

                                           By: /s/ Kurt Kastorf
                                           Georgia Bar No. 315315
                                           KASTORF LAW LLP
                                           1387 Iverson St., Suite 100
                                           Atlanta, GA 30307
                                           (404) 900-0030
                                           kurt@kastorflaw.com




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                                   Jon Greenbaum (pro hac vice)
                                   Ezra D. Rosenberg (pro hac vice)
                                   Julie M. Houk (pro hac vice)
                                   jgreenbaum@lawyerscommittee.org
                                   erosenberg@lawyerscommittee.org
                                   jhouk@lawyerscommittee.org
                                    LAWYERS’ COMMITTEE FOR
                                   CIVIL RIGHTS UNDER LAW
                                   1500 K Street NW, Suite 900
                                   Washington, D.C. 20005
                                   Telephone: (202) 662-8600
                                   Facsimile: (202) 783-0857

                                   Toni Michelle Jackson (pro hac vice)
                                   Astor H.L. Heaven (pro hac vice)
                                   Keith Harrison (pro hac vice)
                                   tjackson@crowell.com
                                   aheaven@crowell.com
                                   kharrison@crowell.com
                                   CROWELL & MORING LLP
                                   1001 Pennsylvania Avenue NW
                                   Washington, D.C. 20004
                                   Telephone: (202) 624-2500




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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1


      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman and

a point size of 14.


                                            /s/ Kurt Kastorf
                                            Kurt Kastorf




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                           CERTIFICATE OF SERVICE


      I hereby certify that I have this day caused to be served the foregoing

Plaintiffs’ Response in Opposition to Defendants’ Motion to Dismiss with the Clerk

of Court using the CM/ECF system, which will automatically send email notification

of such filing to all counsel or parties of record on the service list.


This 3rd day of June, 2022


                                                /s/ Kurt Kastorf
                                                Kurt Kastorf




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